Case 2:15-cr-20652-GCS-DRG ECF No. 1042 filed 06/04/18   PageID.9652   Page 1 of 2

                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                          Case No. 15-20652-13
 vs.
                                          HON. GEORGE CARAM STEEH
 D-13 ARLANDIS SHY,

               Defendant.
 _____________________________/

  ORDER DENYING MOTION TO PRECLUDE EVIDENCE [ECF NO. 1023]

       This matter is before the court on the motion in limine brought by

 defendant Arlandis Shy to preclude the government from offering Facebook

 evidence that was not timely produced, in violation of Federal Rule of

 Criminal Procedure Rule 16. The court heard oral argument on the motion

 on June 4, 2018. For the reasons stated on the record, defendant’s

 request that the evidence be suppressed is DENIED. Defendant may still

 challenge the government’s use of the discovery materials on other

 grounds and may bring such a motion on or before July 10, 2018.

 Defendant may also request help in the way of an additional attorney or

 paralegal to go through the Facebook discovery by informing the court if

 such help is desired.

 Dated: June 4, 2018
                                    s/George Caram Steeh
                                    GEORGE CARAM STEEH
                                    UNITED STATES DISTRICT JUDGE
Case 2:15-cr-20652-GCS-DRG ECF No. 1042 filed 06/04/18               PageID.9653   Page 2 of 2




                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                        June 4, 2018, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk
